            Case 8:23-ap-01046-SC Doc Filed 06/24/23 Entered 06/24/23 21:15:57                                                                   Desc
                               Imaged Certificate of Notice Page 1 of 5
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                 Case No. 23-10571-SC
The Litigation Practice Group P.C.                                                                                     Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-8                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Jun 22, 2023                                               Form ID: pdf042                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 24, 2023:
Recip ID                  Recipient Name and Address
db                      + The Litigation Practice Group P.C., 17542 17th St, Suite 100, Tustin, CA 92780-1981

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 24, 2023                                            Signature:           /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 22, 2023 at the address(es) listed below:
Name                               Email Address
Alan Craig Hochheiser
                                   on behalf of Creditor City Capital NY ahochheiser@mauricewutscher.com arodriguez@mauricewutscher.com

Alan I Nahmias
                                   on behalf of Interested Party Courtesy NEF anahmias@mbn.law jdale@mbnlawyers.com

Andrew Still
                                   on behalf of Interested Party Courtesy NEF astill@swlaw.com kcollins@swlaw.com

Byron Z Moldo
                                   on behalf of Interested Party Byron Moldo bmoldo@ecjlaw.com amatsuoka@ecjlaw.com,dperez@ecjlaw.com

Christopher Celentino
                                   on behalf of Plaintiff Richard A. Marshack christopher.celentino@dinsmore.com caron.burke@dinsmore.com

Christopher Celentino
                                   on behalf of Trustee Richard A Marshack (TR) christopher.celentino@dinsmore.com caron.burke@dinsmore.com
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Date Rcvd: Jun 22, 2023                                     Form ID: pdf042                                                   Total Noticed: 1
Christopher Ghio
                          on behalf of Plaintiff Richard A. Marshack christopher.ghio@dinsmore.com

Christopher J Langley
                          on behalf of Interested Party Courtesy NEF chris@slclawoffice.com
                          omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com

D Edward Hays
                          on behalf of Trustee Richard A Marshack (TR) ehays@marshackhays.com
                          ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

D Edward Hays
                          on behalf of Interested Party Courtesy NEF ehays@marshackhays.com
                          ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

Daniel A Lev
                          on behalf of Interested Party Courtesy NEF daniel.lev@gmlaw.com cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com

David S Kupetz
                          on behalf of Interested Party Courtesy NEF David.Kupetz@lockelord.com mylene.ruiz@lockelord.com

Douglas A Plazak
                          on behalf of Defendant Greyson Law Center PC dplazak@rhlaw.com

Eric Bensamochan
                          on behalf of Interested Party Eric Bensamochan eric@eblawfirm.us G63723@notify.cincompass.com

Garrick A Hollander
                          on behalf of Creditor Debt Validation Fund II LLC ghollander@wghlawyers.com,
                          jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Garrick A Hollander
                          on behalf of Creditor MC DVI Fund 1 LLC ghollander@wghlawyers.com,
                          jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Garrick A Hollander
                          on behalf of Creditor MC DVI Fund 2 LLC ghollander@wghlawyers.com,
                          jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Gregory M Salvato
                          on behalf of Interested Party Courtesy NEF gsalvato@salvatoboufadel.com
                          calendar@salvatolawoffices.com;jboufadel@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com

Ira David Kharasch
                          on behalf of Interested Party Courtesy NEF ikharasch@pszjlaw.com

Johnny White
                          on behalf of Interested Party Courtesy NEF JWhite@wrslawyers.com jlee@wrslawyers.com;eweiman@wrslawyers.com

Jonathan Serrano
                          on behalf of Trustee Richard A Marshack (TR) jonathan.serrano@dinsmore.com

Joon M Khang
                          on behalf of Debtor The Litigation Practice Group P.C. joon@khanglaw.com

Kenneth Misken
                          on behalf of U.S. Trustee United States Trustee (SA) Kenneth.M.Misken@usdoj.gov

Laila Masud
                          on behalf of Trustee Richard A Marshack (TR) lmasud@marshackhays.com
                          lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud
                          on behalf of Interested Party Richard A. Marshack lmasud@marshackhays.com
                          lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud
                          on behalf of Plaintiff Richard Marshack lmasud@marshackhays.com lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud
                          on behalf of Interested Party Courtesy NEF lmasud@marshackhays.com
                          lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Leslie Skorheim
                          on behalf of U.S. Trustee United States Trustee (SA) leslie.skorheim@usdoj.gov

Michael D Lieberman
                          on behalf of Creditor Phillip A. Greenblatt PLLC mlieberman@lipsonneilson.com

Olivia Scott
                          on behalf of Creditor Azzure Capital LLC olivia.scott3@bclplaw.com

Olivia Scott
            Case 8:23-ap-01046-SC Doc Filed 06/24/23 Entered 06/24/23 21:15:57                                                     Desc
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Date Rcvd: Jun 22, 2023                                       Form ID: pdf042                                                      Total Noticed: 1
                             on behalf of Creditor Hi Bar Capital LLC olivia.scott3@bclplaw.com

Paul R Shankman
                             on behalf of Creditor United Partnerships LLC PShankman@fortislaw.com, info@fortislaw.com

Paul R Shankman
                             on behalf of Attorney Paul R. Shankman PShankman@fortislaw.com info@fortislaw.com

Queenie K Ng
                             on behalf of U.S. Trustee United States Trustee (SA) queenie.k.ng@usdoj.gov

Randall Baldwin Clark
                             on behalf of Interested Party Randall Baldwin Clark rbc@randallbclark.com

Richard A Marshack (TR)
                             pkraus@marshackhays.com rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com

Richard H Golubow
                             on behalf of Creditor Debt Validation Fund II LLC rgolubow@wghlawyers.com,
                             jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Richard H Golubow
                             on behalf of Creditor MC DVI Fund 2 LLC rgolubow@wghlawyers.com,
                             jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Richard H Golubow
                             on behalf of Creditor MC DVI Fund 1 LLC rgolubow@wghlawyers.com,
                             jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Ronald K Brown
                             on behalf of Creditor SDCO Tustin Executive Center Inc. ron@rkbrownlaw.com

Ronald N Richards
                             on behalf of Interested Party Courtesy NEF ron@ronaldrichards.com 7206828420@filings.docketbird.com

Ronald N Richards
                             on behalf of Defendant Consumer Legal Group PC ron@ronaldrichards.com, 7206828420@filings.docketbird.com

Sharon Z. Weiss
                             on behalf of Creditor Azzure Capital LLC sharon.weiss@bclplaw.com
                             raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com

Sharon Z. Weiss
                             on behalf of Creditor Hi Bar Capital LLC sharon.weiss@bclplaw.com
                             raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com

Shawn M Christianson
                             on behalf of Interested Party Courtesy NEF cmcintire@buchalter.com schristianson@buchalter.com

Teri T Pham
                             on behalf of Attorney Teri Pham tpham@enensteinlaw.com 3135.002@enensteinlaw.com

United States Trustee (SA)
                             ustpregion16.sa.ecf@usdoj.gov

Victoria Newmark
                             on behalf of Interested Party Courtesy NEF vnewmark@pszjlaw.com


TOTAL: 48
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 1 D. EDWARD HAYS, #162507
   ehays@marshackhays.com
 2 LAILA MASUD, #311731
   lmasud@marshackhays.com                                            FILED & ENTERED
 3 MARSHACK HAYS LLP
   870 Roosevelt
 4 Irvine, California 92620                                                JUN 22 2023
   Telephone: (949) 333-7777
 5 Facsimile: (949) 333-7778                                          CLERK U.S. BANKRUPTCY COURT
                                                                      Central District of California
                                                                      BY bolte      DEPUTY CLERK
 6 Attorneys for Chapter 11 Trustee,
   RICHARD A. MARSHACK
 7
                              UNITED STATES BANKRUPTCY COURT
 8
                 CENTRAL DISTRICT OF CALIFORNIA ± SANTA ANA DIVISION
 9
10
     In re                                               Case No. 8:23-bk-10571-SC
11
     THE LITIGATION PRACTICE GROUP,                      Chapter 11
12
                   Debtor.                               ORDER GRANTING APPLICATION BY
13                                                       CHAPTER 11 TRUSTEE TO EMPLOY
                                                         MARSHACK HAYS LLP AS GENERAL
14                                                       COUNSEL
15                                                       [NO HEARING REQUIRED]
16

17           The Court has read and considered the Application to Employ Marshack Hays LLP as
18 General Counsel ³$SSOLFDWLRQ´ ILOHGE\Trustee, on May 19, 2023, as Dk. No. 75. The Court finds,

19 based upon the proof of service of the notice of Application filed on May 19, 2023, as Dk. No. 76,

20 and the Declaration that no Party Requested a Hearing on Application filed on June 21, 2023, as

21 Docket No. 126, that proper notice of the Application has been given and no opposition or request

22 for hearing has been received. Accordingly, the court finds good cause to grant the Application, and

23 the court enters its order as follows:

24           IT IS ORDERED:
25           1.    The Application is approved;
26           2.    Trustee is authorized to employ the Firm as his general counsel pursuant to 11 U.S.C.
27 § DWWKH)LUP¶VKRXUO\UDWHVZLWKDQ\FRPSHQVDWLRQDQGUHLPEXUVHPHQWRIFRVWVWREHSDLGE\WKH

28 Estate only upon application to and approval by the Court pursuant to 11 U.S.C. §§ 330 and 331; and


                                                     1
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 1         3.     In the event the underlying bankruptcy case is converted to a Chapter 7, there
 2 is no need for Firm to seek to be re-employed in the converted case.

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     Date: June 22, 2023
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